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                                                         Document Page
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Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &        FOR COURT USE ONLY
Email Address

Daniel A Lev
333 South Grand Avenue
Suite 3400
Los Angeles, CA 90071
213−626−2311




Plaintiff or Attorney for Plaintiff

                                        UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA − SANTA ANA
In re:

                                                                              CASE NO.:    8:19−bk−13858−ES

Bruce Elieff                                                                  CHAPTER:     7


                                                                              ADVERSARY NUMBER:         8:22−ap−01008−ES
                                                               Debtor(s).

Howard M Ehrenberg, solely in his capacity as Chapter 7
Trustee


                                                               Plaintiff(s)       SUMMONS AND NOTICE OF STATUS
                               Versus                                               CONFERENCE IN ADVERSARY
Stephan Elieff                                                                       PROCEEDING [LBR 7004−1]
(See Attachment A for names of additional defendants)
                                                           Defendant(s)


TO THE DEFENDANT(S): A Complaint has been filed by the Plaintiff against you. If you wish to defend against the Complaint,
you must file with the court a written pleading in response to the Complaint. You must also serve a copy of your written
response on the party shown in the upper left−hand corner of this page. The deadline to file and serve a written response is
02/28/2022. If you do not timely file and serve the response, the court may enter a judgment by default against you for the relief
demanded in the Complaint.

 A status conference in the adversary proceeding commenced by the Complaint has been set for:
             Date:                April 14, 2022
             Time:                09:30 AM
             Hearing Judge:       Erithe A. Smith
             Location:            411 W Fourth St., Crtrm 5A, Santa Ana, CA 92701



            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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You must comply with LBR 7016−1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate with the
other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least 14 days before
a status conference. A court−approved joint status report form is available on the court's website (LBR form F
7016−1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F
7016−1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days before the
status conference. The court may fine you or impose other sanctions if you do not file a status report. The court may
also fine you or impose other sanctions if you fail to appear at a status conference.




                                                                                        KATHLEEN J. CAMPBELL
                                                                                        CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding: January 28, 2022




                                                                                        By:        "s/" Tina Duarte
                                                                                                   Deputy Clerk




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                                     ATTACHMENT A
                                              Names of plaintiffs and defendants



Plaintiff(s):                                                                Defendant(s):
Howard M Ehrenberg, solely in his capacity as Chapter 7                      Stephan Elieff
Trustee                                                                      JD Land Fund III, LLC
                                                                             Liberty Ranch, LLC




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

                                                             ATTACHMENT A
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                                              PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

 333 South Grand Avenue, Suite 3400, Los Angeles, CA 90071


A true and correct copy of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE IN ADVERSARY
PROCEEDING [LBR 7004−1] and (2) the accompanying pleading(s) entitled: COMPLAINT FOR (1) AVOIDANCE AND RECOVERY
OF FRAUDULENT TRANSFERS, (2) PRESERVATION OF FRAUDULENT TRANSFERS, AND (3) DISALLOWANCE OF CLAIMS;
__________________________________________________________________________________________________________
 NOTICE OF COMPLIANCE WITH LOCAL BANKRUPTCY RULE 7026-1 AND RULE 7026 OF THE FEDERAL RULES OF
 BANKRUPTCY PROCEDURE; AND SUPPLEMENTAL NOTICE OF HEARING TO BE HELD REMOTELY USING ZOOMGOV
__________________________________________________________________________________________________________
 AUDIO AND VIDEO
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005−2(d); and (b) in the manner
stated below:

   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
   Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
          January 31, 2022
   (date) _____________________,     I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
   determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
   addresses stated below:
    • Howard M Ehrenberg (TR) ehrenbergtrustee@sulmeyerlaw.com, ca25@ecfcbis.com;C123@ecfcbis.com;
    hehrenberg@ecf.inforuptcy.com
    • Daniel A Lev dlev@sulmeyerlaw.com, ccaldwell@sulmeyerlaw.com;dlev@ecf.inforuptcy.com
    • United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
                                                                               Service information continued on attached page
                                                          January 31, 2022
   2. SERVED BY UNITED STATES MAIL: On (date) _____________________,                   I served the following persons and/or
   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct
   copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows.
   Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after
   the document is filed.




                                                                           X Service information continued on attached page
   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
   method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
   _____________________, I served the following persons and/or entities by personal delivery, overnight mail service,
   or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
   Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
   completed no later than 24 hours after the document is filed.




                                                                               Service information continued on attached page
   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

    January 31, 2022       Cheryl Caldwell
   _____________________________________________________________                                         /s/Cheryl Caldwell
                                                                                                    _________________________________
   Date                   Printed Name                                                                 Signature

                This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                      SERVICE LIST

Defendant Stephan Elieff:

Stephan Elieff
4627 Camden Drive
Corona Del Mar, California 92625

Stephan Elieff
2382 Morse Avenue
Irvine, California 92614

Defendant JD Land Fund, III, LLC:

John Randolph Poag
5055 Scholarship
Irvine, California 92612

Defendant Liberty Ranch, LLC:

Liberty Ranch, LLC
2646 Dupont Drive, Suite 60, #520
Irvine, California 92612

Liberty Ranch, LLC
c/o Unisearch, Inc.
Agent for Service of Process
1780 Barnes Boulevard SW
Tumwater, Washington 98512
